                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


MARTIN ARNOLD RILEY,                                 )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )      Case. No. 22-3185-JWL-JPO
                                                     )
(FNU) SKIDMORE, et al.,                              )
                                                     )
               Defendants.                           )
                                                     )

                RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
                                FOR DEFAULT

       Defendants (FNU) Hopkins, (FNU) East, (FNU) Brown, (FNU) Rasmussen, (FNU) Potter

(“Defendants”) submit, through Assistant Attorney General Matthew L. Shoger, this response to

Plaintiff’s Declaration for Entry of Default (Doc. 12), docketed as a Motion for Default Judgment

(hereinafter “Motion for Default Judgment”). Defendants contend that no default has occurred,

and therefore no grounds exist for a default judgment.

       Plaintiff suggests that Defendants were served with a summons by a U.S. Marshall on

September 6, 2022. But the record in this case shows instead that the Court entered a Service Order

on September 6, 2022, requesting that the Defendants waive service of process. (Doc. 6 at 1.)

Defendants then waived service of process on October 7, 2022. (Doc. 11.) As a result, no service

of a summons is necessary in this case for the case to proceed.

       Plaintiff also suggests that Defendants failed to respond to the complaint within twenty

days of the alleged service. Plaintiff appears to be referencing the twenty-one-day deadline under

Federal Rule of Civil Procedure 12(a)(1)(A)(i), which does not apply in this case. The Court

ordered on September 6, 2022, in a Memorandum and Order, that “[u]pon the filing of [the
Martinez] Report, the Court will screen Plaintiff’s Complaint.” (Doc. 7 at 2.) The Court has not

yet finished screening Plaintiff’s Complaint under 28 U.S.C. § 1915A, so the case remains in the

screening phase. The Court further stated: “If the Complaint survives screening, the Court will

enter a separate order setting an answer deadline. Therefore, any answer deadline provided in the

waiver of service is not controlling.” (Doc. 7 at 2.) The Court has not set an answer deadline, so

the Defendants are not required to respond to the Complaint at this time.

          Therefore, Plaintiff has not shown under Federal Rule of Civil Procedure 55(a) any failure

by Defendants to plead or otherwise defend, so the clerk has properly abstained from entering

default. To the extent the Plaintiff moves for a default judgment under Rule 55(b)(2), any proposed

default judgment would be inappropriate because no default has occurred.

          For these reasons, Defendants request that this Court enter an order denying Plaintiff’s

Motion for Default Judgment, and for such other and further relief as this Court deems just and

proper.

                                               Respectfully submitted,

                                               OFFICE OF ATTORNEY GENERAL
                                               DEREK SCHMIDT

                                               /s/ Matthew L. Shoger
                                               Matthew L. Shoger, KS No. 28151
                                               Assistant Attorney General
                                               120 SW 10th Avenue, 2nd Floor
                                               Topeka, Kansas 66612-1597
                                               matt.shoger@ag.ks.gov
                                               785-296-2215
                                               Fax: (785) 291-3767
                                               Attorney for KDOC Defendants




                                                  2
                                CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of November, 2022, the foregoing document was filed
with the clerk of the court by using the CM/ECF system, which will send notice of electronic filing
to the following:

       Natasha M. Carter
       Kansas Department of Corrections
       714 SW Jackson Street, Suite 300
       Topeka, KS 66603
       natasha.carter@ks.gov
       Attorney for Kansas Department of Corrections, Interested Party

I also certify that a copy of the above was served by means of first-class mail, postage prepaid,
addressed to:

       Martin Arnold Riley, #52926
       EL DORADO Correctional Facility-Central
       PO Box 311
       El Dorado, KS 67042
       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




                                                3
